

Matter of Clark v Clark (2022 NY Slip Op 04880)





Matter of Clark v Clark


2022 NY Slip Op 04880


Decided on August 4, 2022


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on August 4, 2022
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., CENTRA, NEMOYER, AND WINSLOW, JJ.


888/21 CAF 21-00264

[*1]IN THE MATTER OF DIANNE CLARK AND DAVID CLARK, PETITIONERS-RESPONDENTS,
vDEXTER D. CLARK, RESPONDENT, AND CYNTHIA CLIFFORD-CLARK, RESPONDENT-APPELLANT. 






PETER J. DIGIORGIO, JR., UTICA, FOR RESPONDENT-APPELLANT. 
THERESA GIROUARD, ROME, FOR PETITIONERS-RESPONDENTS.
MARK MALAK, CLINTON, FOR RESPONDENT.
MICHAEL J. LAUCELLO, CLINTON, ATTORNEY FOR THE CHILD. 


	Appeal from an order of the Family Court, Oneida County (James R. Griffith, J.), entered October 5, 2020 in a proceeding pursuant to Family Court Act article 6. The order, inter alia, granted petitioners visitation with the subject child. 
Now, upon reading and filing the stipulation of discontinuance signed by the attorneys for the parties on July 27 and August 1, 2022,
It is hereby ORDERED that said appeal is unanimously dismissed without costs upon stipulation.
Entered: August 4, 2022
Ann Dillon Flynn
Clerk of the Court








